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“ILED

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS APR 2 3 2024
AUSTIN DIVISION i DISTRICT COURT
uSTRIG TEXAS

UNITED STATES OF AMERICA, IEPUTY CLERK

Plaintiff,
1:23-CR-135-RP

¥.

SAINT JOVITE YOUNGBLOOD,

AA

Defendant.

VERDICT FORM

COUNT ONE:
WIRE FRAUD
18 U.S.C. § 1343 and 18 U.S.C. § 2
As to Count One, which charges that on ot about July 27, 2022, the Defendant knowingly
caused to be transmitted a wite transaction in the amount of $36,000 drawn from a Washington
Federal Bank account in Seattle, Washington, that was deposited to E.P.’s Wells Fargo Bank Account

xxx6673 in Austin, ‘Texas, for payment to provide protection against threats to E.P. and family, we,

the Jury, unanimously find Saint Jovite Youngblood:

Not Guilty cuit

PLEASE PROCEED TO THE NEXT PAGE.
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COUNT TWO:
WIRE FRAUD
18 U.S.C. § 1343 and 18 U.S.C. § 2
As to Count Two, which charges that on or about August 16, 2022, the Defendant knowingly
caused to be transmitted a wire transaction in the amount of $50,000 drawn from a Washington
Federal Bank account in Seattle, Washington, that was deposited to E.P.’s Wells Pargo Bank Account

xxx6673 in Austin, Texas, fot payment to provide protection against threats to E.P. and family, we,

the Jury, unanimously find Saint Jovite Youngblood:

Not Guilty YX cui

COUNT THREE:
WIRE FRAUD
18 U.S.C. § 1343 and 18 U.S.C. § 2
As to Count Three, which charges that on or about September 30, 2021, the Defendant
knowingly caused to be transmitted a wire transaction in the amount of $235,000 drawn from a Fidelity
Roth IRA account in New York, New York, that was deposited to G.S.’s Wells Fargo Bank Account

xxx2952, in Austin, Texas for payment to provide protection against threats to A.H. and family, we,

the Jury, unanimously find Saint Jovite Youngblood:

Not Guilty XK Guilty.

PLEASE PROCEED TO THE NEXT PAGE.

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COUNT FOUR:
WIRE FRAUD
18 U.S.C. § 1343 and 18 U.S.C. § 2
As to Count Four, which charges that on or about July 3, 2023, the Defendant knowingly caused
to be transmitted a wite transaction in the amount of $19,800 drawn from H.L.’s Bank of America -
account in Arcadia, California, that was deposited to Youngblood’s Navy Federal Credit Union

account xxx7070, in Austin, Texas, for payment to facilitate an investment related to gold, we, the

Juty, unanimously find Saint Jovite Youngblood:

Not Guilty LZ. .

COUNT FIVE:
ENGAGING IN MONETARY TRANSACTIONS IN PROPERTY DERIVED FROM
SPECIFIED UNLAWFUL ACTIVITY

18 U.S.C. § 1957
As to Count Five, which charges that on or about July 27, 2022, the Defendant did knowingly
engage in a monetary transaction in criminally derived property—vo wi: a check in the amount on
$83,000 drawn on E.P.’s business account at Wells Fargo Bank Account xxx7818 in Austin, Texas to
J.H. J.H. then cashed the check and provided the proceeds to Youngblood—criminally derived
ptopetty of a value greater than $10,000, which property was derived from specified unlawful activity,

natnely, Wire Fraud as alleged in Count One, we, the Jury, unanimously find Saint Jovite Youngblood:

Not Guilty Ais
J ?

Submitted on this 2 3 day of April, 2024, at : / 5 o’clock #7 .m.
ORIGINAL SIGNATURE yo,

ow REDACTED PURSUANT:-10. «

Porepetsof/ &_EQYERNMENT ACT OF 2002

